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                                                   By TamaraEllis at 11:23 am, Dec 19, 2019

                           United States Court of Appeals
                                       FIFTH CIRCUIT
                                    OFFICE OF THE CLERK
      LYLE W. CAYCE                                                        TEL. 504-310-7700
      CLERK                                                             600 S. MAESTRI PLACE
                                                                       NEW ORLEANS, LA 70130



                                  December 19, 2019
      MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
            No. 19-10011      State of Texas, et al v. USA, et al
                              USDC No. 4:18-CV-167 -O

      Enclosed is an order entered in this case.

                                        Sincerely,
                                        LYLE W. CAYCE, Clerk


                                        By: _________________________
                                        Roeshawn Johnson, Deputy Clerk
                                        504-310-7998
      Ms. Munera Al-Fuhaid
      Mr. Ryan Wolfe Allison
      Ms. Ginger Anders
      Mr. Peter J. Anthony
      Mr. A. Xavier Baker
      Mr. Benjamin Battles
      Mr. Matthew Joseph Berns
      Mr. Jack R. Bierig
      Mr. Nathanael Blake
      Mr. Kenneth Lee Blalack II
      Ms. Kathleen Boergers
      Mr. Wade Carr
      Mr. Z.W. Julius Chen
      Mr. Lawrence Crawford
      Mr. Stuart F. Delery
      Ms. Bridget DiBattista
      Mr. Nicholas M. DiCarlo
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      Mr. John Allen Eidsmoe
      Mr. Nimrod Elias
      Mr. August E. Flentje
      Mr. Benjamin Michael Flowers
      Mr. Brian Rene Frazelle
      Mr. Matthew Hamilton Frederick
      Ms. Elaine Goldenberg
      Ms. Brianne Gorod
      Ms. Maame Gyamfi
      Mr. David J. Hacker
      Ms. Caitlin Joan Halligan
      Mrs. Fadwa A. Hammoud
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Mr. Joshua L. Hedrick
Mr. Matthew S. Hellman
Mr. Robert E. Henneke
Ms. Hyland Hunt
Mr. Scott H. Ikeda
Mr. Paige Jennings
Ms. Michelle Shane Kallen
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Mr. Jeremy Kreisberg
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Mr. David Meir Zionts
